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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

___________________________________
                                    )
                                    )
KAREN READ,                         )
            Petitioner              )
                                    )
v.                                  )                                 No. 25-CV-10399-FDS
                                    )
NORFOLK COUNTY SUPERIOR             )
COURT, MASSACHUSETTS                )
ATTORNEY GENERAL,                   )
            Respondents             )
                                    )
___________________________________ )

              PETITIONER’S NOTICE OF SUPPLEMENTAL AUTHORITY

       At the March 5, 2025 hearing in this matter, the Court inquired regarding whether the

Court had authority to receive evidence in order to further federal constitutional decisions

regarding the issues raised by Ms. Read’s petition under § 2241. Petitioner respectfully submits

this Notice of Supplemental Authority in response.

       Federal statute expressly provides, “[o]n application for a writ of habeas corpus, evidence

may be taken orally or by deposition . . . .” 28 U.S.C. § 2246. Courts considering § 2241

petitions have, therefore, held evidentiary hearings where necessary. See, e.g., Enwonwu v.

Gonzales, 438 F.3d 22, 24 (1st Cir. 2006); Johnson v. Patton, 580 F. App’x 646, 649 (10th Cir.

2014) (unpublished); Hiratsuka v. Houser, No. 21-CV-00018, 2022 WL 348460, at *1 (D.

Alaska Jan. 5, 2022). As the Supreme Court has explained in the context of a challenge to a state

court judgment under § 2254, “where specific allegations before the court show reason to believe

that the petitioner may, if the facts are fully developed, be able to demonstrate that [s]he is


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confined illegally and is therefore entitled to relief, it is the duty of the court to provide the

necessary facilities and procedures for an adequate inquiry.” Harris v. Nelson, 394 U.S. 286,

300 (1969).

                                                        Respectfully Submitted,
                                                        KAREN READ
                                                        By Her Attorneys,

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Dated: March 5, 2025


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                                CERTIFICATE OF SERVICE

        I, Martin G. Weinberg, hereby certify that on this date, March 5, 2025, a copy of the
foregoing document has been served via Electronic Court Filing system on all registered
participants.

                                                     /s/ Martin G. Weinberg
                                                     Martin G. Weinberg, Esq.




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